                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                             INITIAL APPEARANCE - REMOVAL
                                                    )        COURT MINUTES - CRIMINAL
United States of America,                           )            BEFORE: JON T. HUSEBY
                                                    )            U.S. MAGISTRATE JUDGE
                          Plaintiff,                )
v.                                                  )   Case No:              21-mj-244 JTH
                                                    )   Date:                 March 19, 2021
Jordan Kenneth Stotts,                              )   Video Conference
                                                    )   Time Commenced:       1:40 p.m.
                          Defendant.                )   Time Concluded:       2:00 p.m.
                                                    )   Time in Court:        20 minutes
                                                    )
                                                    )
                                                    )
APPEARANCES:

       Plaintiff: Tom Hollenhorst, John Docherty, Assistant U.S. Attorney
       Defendant: James Becker, Assistant Federal Public Defender
                      X FPD          X To be appointed

       X Advised of Rights

on X Complaint
X Date charges or violation filed: 3/16/2021
X Current Offense: knowingly entering or remaining in any restricted building or grounds without lawful
authority
X Charges from other District: District of Columbia
X Title and Code of underlying offense from other District: 18:1752(a)(1)(2)
X Case no: 1:21-mj-00314


X Bond set in the amount of $25,000.00 with conditions, see Order Setting Conditions of Release.


X Removal hearing waived
X Removal Order to be issued
X Government moves to unseal the case.              X Granted

Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.

                                                                                                   s/ JAM
                                                                            Signature of Courtroom Deputy
